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TO D ER ’ § W.r:). cas ita ra§iap§i§
Plaintiff )
)

v. ) Case No. 99-1267 Bre/P

)
CORRECTI()NS CORPORATION OF )
AMERICA, et al., )
)
Defendants )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference On June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
Scheduled Status Conference c)n June 24, 2005.

Dated: this l day of r:i_\J(/vL ,2005.

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- Case 1:99-cV-01267-.]DB-tmp Document 91 Filed 06/09/05 Page 2 of 4 Page|D 102

APPROVED FOR ENTRY:

OBMMM@%U JMSM aw%w
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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and . Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Colurnbia, SC 29201 on June , 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
case 1:99-CV-01267 vvas distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

